543 U.S. 1144
    IBP, INC.v.ALVAREZ, INDIVIDUALLY AND ON BEHALF OF ALL OTHERS SIMILARLY SITUATED, ET AL.
    No. 03-1238.
    Supreme Court of United States.
    February 22, 2005.
    
      1
      C. A. 9th Cir.; and C. A. 1st Cir. Motion of National Chicken Council et al. for leave to file a brief as amici curiae in No. 03-1238 granted. Certiorari in No. 03-1238 granted limited to Question 1 presented by the petition. Certiorari in No. 04-66 granted limited to Question 1 presented by the petition and the following question: "Do employees have a right to compensation for time they must spend waiting at required safety equipment distribution stations?" Cases consolidated, and a total of one hour allotted for oral argument. Reported below: No. 03-1238, 339 F. 3d 894; No. 04-66, 360 F. 3d 274.
    
    